      Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 1 of 16




                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

__________________________________________
ONEBEACON INSURANCE COMPANY,               :                     CIVIL ACTION NO.
                                           :
                  Plaintiff,               :                     4:11-cv-03061-GHM
                                           :
V.                                         :
                                           :
T. WADE WELCH & ASSOCIATES ET AL.,         :
                                           :
                  Defendants.              :
__________________________________________:
                                           :
DISH NETWORK CORPORATION,                  :
                                           :
                  Intervenor.              :
__________________________________________:                      AUGUST 25, 2014

                   ONEBEACON INSURANCE COMPANY’S ANSWER
                      AND AFFIRMATIVE DEFENSES TO DISH
                   NETWORK CORPORATION’S COUNTERCLAIMS

        The   plaintiff   and     counterclaim      defendant,   OneBeacon    Insurance   Company

(“OneBeacon”),     through      its   undersigned    counsel,    hereby   answers   Intervenor   and

Counterclaimant DISH Network Corporation’s Counterclaim to OneBeacon Insurance

Company’s Amended Complaint for Declaratory Judgment dated July 31, 2014 (the

“Counterclaim”) and asserts the following affirmative defenses:

                                 ANSWER TO COUNTERCLAIM

I.      THE PARTIES

        1.     OneBeacon lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of paragraph 1 of the Counterclaim.

        2.     OneBeacon admits the allegations of paragraph 2 of the Counterclaim.

II.     JURISDICTION
       Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 2 of 16




         3.    OneBeacon admits the allegations of paragraph 3 of the Counterclaim.

III.     VENUE

         4.    OneBeacon admits the allegations of paragraph 4 of the Counterclaim.

IV.      GENERAL ALLEGATIONS

         5.    OneBeacon admits that in or about July of 2003, Russian Media Group, LLC

(“RMG”) initiated a lawsuit bearing Civil Action Number 3:03-cv-01263-WWE in the United

States District Court for the District of Connecticut (the “RMG Lawsuit”). OneBeacon denies

that, at the time of commencement the RMG Lawsuit, the title of the RMG Lawsuit is as stated

and that the RMG Lawsuit was against Kelly Broadcasting Systems, Inc. OneBeacon lacks

sufficient knowledge or information to form a belief as to the remaining allegations of paragraph

5 of the Counterclaim.

         6.    OneBeacon admits that sometime in 2003, DISH Network Corporation (“DISH”)

engaged T. Wade Welch & Associates (the “Welch Firm”) to represent it in the RMG Lawsuit.

OneBeacon lacks sufficient knowledge or information to form a belief as to the truth of the

remaining allegations of paragraph 6 of the Counterclaim.

         7.    OneBeacon admits that Ross W. Wooten (“Wooten”) was an attorney employed

by the Welch Firm and that he acted as the lead attorney for the RMG Lawsuit. OneBeacon

lacks sufficient knowledge or information to form a belief as to the truth of the remaining

allegations of paragraph 7 of the Counterclaim.

         8.    OneBeacon admits that it issued a certain Lawyers’ Professional Liability Policy

bearing policy number LAP-0978-07 for the policy period of December 20, 2007 to December

20, 2008 (the “2007 Policy”) and further admits that a copy of the 2007 Policy is attached to the

Counterclaim as Exhibit A.




                                                  2
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 3 of 16




       9.       OneBeacon lacks sufficient knowledge or information as to what DISH was

informed and believes. OneBeacon denies the remaining allegations of paragraph 9 of the

Counterclaim.

       10.      OneBeacon admits that the 2007 Policy states, inter alia, as follows:

       We agree to pay on your behalf all damages in excess of the deductible amount
       and up to the limits of liability stated in the Declarations provided such damages:
              1.       result from claims:
                       a)       first made against you during the policy period and
                                reported to us in writing during the policy period or within
                                sixty (60) days thereafter; or
                       b)       first made against you and reported to us in writing during
                                any applicable Extended Reporting Period; and
              2.       are caused by a wrongful act which takes place before or during
                       the policy period and after the retroactive date shown on the
                       Declarations.

(bold in original). OneBeacon further admits that the 2007 Policy states, inter alia, as follows:

       If you first become aware during the policy period or any Extended Reporting
       Period, if applicable, of a wrongful act or potential claim for which coverage is
       otherwise provided hereunder, and if you, during the policy period or any
       Extended Reporting Period, if applicable, give written notice to us of:
              1.       the specific wrongful act; and
              2.       the injury or damage which has resulted from such wrongful act;
       then any claim that may subsequently be made against you arising out of such
       wrongful act will be deemed for the purposes of this insurance to have been
       made the policy period or any Extended Reporting Period, if applicable.

(bold in original). OneBeacon admits that, among other terms, the terms “your,” “damage(s),”

“you,” “policy period,” “us,” “claim,” and “wrongful act” are defined in the 2007 Policy.

OneBeacon denies the remaining allegations of paragraph 10 of the Counterclaim.

       11.      OneBeacon admits the limits of liability under the 2007 Policy are $5,000,000 per

claim and $5,000,000 in the aggregate, subject to reduction or erosion of said limits by any

“claim expenses” (as that term is defined in the 2007 Policy). OneBeacon admits the remaining

allegations of paragraph 11 of the Counterclaim.




                                                 3
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 4 of 16




       12.     OneBeacon admits that, in February of 2007, RMG filed a motion for discovery

orders in the RMG Lawsuit seeking certain sanctions as described in that motion. OneBeacon

further admits that, on July 20, 2007, Magistrate Judge Holly Fitzsimmons issued an order (the

“Order”) entering certain sanctions against DISH and Kelly Broadcasting Corporation (“Kelly”),

which was also a defendant in the RMG Lawsuit. OneBeacon admits that the Order deems

established certain allegations and facts, all as set forth in the Order, which is attached as Exhibit

B to the Counterclaim and is incorporated herein by reference. OneBeacon further admits that

the Order made certain findings of fact, all of which are set forth in the Order. OneBeacon lacks

sufficient knowledge or information upon which to form a belief as to the truth of the remaining

allegations of paragraph 12 of the Counterclaim.

       13.     OneBeacon admits that Wooten filed an objection to the Order in the RMG

Lawsuit and further admits that, on February 12, 2008, the Honorable Warren G. Eginton entered

an order that adopted the Order. OneBeacon denies the remaining allegations of paragraph 13 of

the Counterclaim.

       14.     OneBeacon admits that DISH and Kelly retained the firm of Levitt Rockwood

P.C. to replace the Welch firm as their counsel in the RMG Lawsuit and that Levitt Rockwood

P.C. filed a motion to dismiss for lack of subject matter jurisdiction, filed a motion to set aside

the Order, and eventually served amended responses to RMG’s discovery requests. OneBeacon

lacks sufficient knowledge or information upon which to form a belief as to the truth of the

remaining allegations of paragraph 14.

       15.     OneBeacon admits that by letter dated April 7, 2008, during the period of the

2007 Policy (if the 2007 Policy is not determined to be void ab initio), the Welch firm provided

it with notice of a potential claim by Echostar Communications Corporation (“Echostar”) and




                                                  4
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 5 of 16




Kelly related, in part, to the Order and other conduct described in said letter. OneBeacon admits

that, on April 8, 2008, OneBeacon acknowledged receipt of the aforementioned April 7, 2008

letter. OneBeacon further admits that, by letter dated July 24, 2008, OneBeacon informed the

Welch Firm that, based on the information then available to it, it did not appear that any “claim”

had been made against the Welch Firm such that coverage under the 2007 Policy would be

triggered. OneBeacon denies the remaining allegations of paragraph 15 of the Counterclaim.

       16.     OneBeacon admits that, on or about March 17, 2010, Echostar, Kelly, the Welch

Firm, and T. Wade Welch (“Welch”) signed a tolling agreement that suspended any statute of

limitations, statute of repose, and time-based defense (including the equitable defense of laches)

applicable to any claim or causes of action Echostar, Kelly, Dish Network Corporation, or DISH

Network L.L.C. had against the Welch Firm or Welch for legal advice and services provided in

connection with the RMG Lawsuit. OneBeacon further admits that the aforementioned tolling

agreement was sent to it in March of 2010, in or about which time the potential claim by

Echostar and Kelly became a “claim” under the 2007 Policy. OneBeacon denies the remaining

allegations of paragraph 16 of the Counterclaim.

       17.     OneBeacon lacks sufficient knowledge or information upon which to form a

belief as to the truth of the allegations of paragraph 17 of the Counterclaim.

       18.     OneBeacon admits that DISH and RMG agreed to settle the claims asserted by

RMG in the RMG Lawsuit, and that DISH paid $12,000,000 to RMG in connection with that

agreement, which included a release of claims by RMG against DISH and Kelly and an

agreement to dismiss the RMG Lawsuit. OneBeacon further admits that, on December 16, 2011,

the RMG Lawsuit was dismissed with prejudice. OneBeacon lacks sufficient knowledge or




                                                 5
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 6 of 16




information upon which to form a belief as to the truth of the remaining allegations of paragraph

18 of the Counterclaim.

       19.      OneBeacon admits that, on or about February 1, 2012, DISH, Kelly, and the

Welch Firm entered into an arbitration agreement, the terms of which included an agreement to

arbitrate all claims, disputes, or controversies between said parties.

       20.      OneBeacon admits that, on or about February 1, 2012, DISH and Kelly made a

demand for arbitration against the Welch Firm. OneBeacon lacks sufficient knowledge or

information upon which to form a belief as to the truth of the remaining allegations of paragraph

20 of the Counterclaim.

       21.      OneBeacon admits that hearings on the merits of the arbitration demand made by

DISH and Kelly against the Welch Firm were held on March 5, 6, 7, 8, and 22, 2013 before

JAMS Arbitrator, the Honorable Harlan A. Martin (Ret.). OneBeacon further admits that it

retained and/or paid for certain counsel from two different firms to defend the Welch Firm

during the aforementioned arbitration hearings. OneBeacon admits that its coverage counsel

attended the arbitration hearings. OneBeacon lacks sufficient knowledge or information upon

which to for a belief as to the truth of the remaining allegations of paragraph 21 of the

Counterclaim.

       22.      OneBeacon admits that, on April 17, 2013, Arbitrator Martin issued a “Final

Award” in the aforementioned arbitration in favor of DISH and Kelly in the amount of

$12,561,123.00 and awarded post-judgment interest in the amount of $1,720.70 per day

thereafter. OneBeacon denies the remaining allegations of paragraph 22 of the Counterclaim.

       23.      OneBeacon admits that, on June 17, 2013, judgment was entered by the District

Court for Harris County Texas, Case No. 2013-33599 and that a copy of that judgment (the




                                                  6
     Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 7 of 16




“Malpractice Judgment”) is attached to the Counterclaim as Exhibit C.            OneBeacon lacks

sufficient knowledge or information upon which to form a belief as to the remaining allegations

of paragraph 23 of the Counterclaim.

V.     FIRST CAUSE OF ACTION BREACH OF CONTRACT

       24.      . OneBeacon hereby incorporates by reference its responses to paragraphs 1

through 23 above.

       25.      OneBeacon admits that, subject to any applicable exclusions, conditions, or other

terms therein, and only if it is determined not to be void ab initio, the 2007 Policy would obligate

OneBeacon to indemnify the Welch Firm in accordance with the insuring agreement. The

insuring agreement provides as follows:

       We agree to pay on your behalf all damages in excess of the deductible amount
       and up to the limits of liability stated in the Declarations provided such damages:
              1.       result from claims:
                       a)       first made against you during the policy period and
                                reported to us in writing during the policy period or within
                                sixty (60) days thereafter; or
                       b)       first made against you and reported to us in writing during
                                any applicable Extended Reporting Period; and
              2.       are caused by a wrongful act which takes place before or during
                       the policy period and after the retroactive date shown on the
                       Declarations.

(bold in original).    OneBeacon denies the remaining allegations of paragraph 25 of the

Counterclaim.

       26.      OneBeacon admits that the Malpractice Judgment was caused by the Welch

Firm’s and Wooten’s negligence in the course of providing legal services to DISH and Kelly in

the RMG Lawsuit. OneBeacon admits that, by letter dated April 7, 2008, during the period of

the 2007 Policy (if the 2007 Policy is not determined to be void ab initio), the Welch firm




                                                 7
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 8 of 16




provided it with notice of a potential claim by Echostar and Kelly related, in part, to the Order

and other conduct described in said letter.

       27.     OneBeacon admits that the Welch Firm has a legal obligation to pay DISH and

Kelly the amount set forth in the Malpractice Judgment and that said amount is in excess of the

limits of liability set forth in the 2007 Policy. OneBeacon denies the remaining allegations of

paragraph 27 of the Counterclaim.

       28.     The allegations of paragraph 28 of the Counterclaim state legal conclusions to

which no response is required. To the extent any response is required, OneBeacon denies the

allegations of paragraph 28 of the Counterclaim.

       29.     OneBeacon denies the allegations of paragraph 29 of the Counterclaim.

       30.     OneBeacon admits that DISH demands a trial by jury.

                                  AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE

       1.      The 2007 Policy and the 2008 Policy are void ab initio due to material

representations made by Welch and/or the Welch Firm on the applications Welch and/or the

Welch Firm submitted in order to obtain the 2007 Policy and the 2008 Policy.

       2.      Particularly, Welch and/or the Welch Firm answered “No” to the following

question in both the application for the 2007 Policy and the application for the 2008 Policy,

which were dated December 6, 2007 and December 19, 2008, respectively:

       Have you or any member of your firm ever been disbarred, refused admission to
       practice law, suspended, reprimanded, sanctioned, fined, placed on probation,
       held in contempt or the subject of any complaint, grievance or action by any
       court, administrative agency or regulatory body?

       3.      OneBeacon relied upon the answer to the above question in issuing both the 2007

Policy and the 2008 Policy, and the answer to said question was material to OneBeacon’s



                                               8
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 9 of 16




decision to issue said policies. In fact, by accepting the 2007 Policy and 2008 Policy, Welch

and/or the Welch Firm acknowledged and agreed “that the statements made in the application[s]

are personal representations, that they are material and that [the policies are] issued in reliance

upon such representations.”

       4.      The representations made by Welch and/or the Welch firm in the applications for

the 2007 Policy and the 2008 Policy that neither Welch nor any members of his firm had been

fined, sanctioned, reprimanded, or subject to a grievance was false, and, upon information and

belief, Welch knew said representations were false when they were made.

       5.      Particularly, Welch knew that a court had determined that the actions of Welch

and Wooten in the matter captioned Dominion Video Satellite, Inc. v. Echostar Satellite, L.L.C.,

Civil Action No. 03-K-607 (D. Colo) were unreasonable and vexatious and ordered personal

sanctions in excess of $62,000 against Welch and Wooten pursuant to 28 U.S.C. § 1927. See

Dominion Satellite, Inc. v. EchostarSatellite, L.L.C., 430 F.3d 1269 (10th Cir. 2005). Yet, Welch

and/or the Welch Firm failed to disclose the aforementioned sanctions in response to the

questions set forth above on the applications for the 2007 Policy and the 2008 Policy.

       6.      By making the aforementioned representations, Welch and/or the Welch Firm

intended to deceive OneBeacon.

       7.      OneBeacon discovered the falsity of the aforementioned representations in the

applications for the 2007 Policy and 2008 Policy no earlier than June 21, 2011.

       8.      Pursuant to Tex. Ins. Code § 705.005, OneBeacon provided timely notice to

Welch and the Welch Firm of its intention to rely upon the aforementioned misrepresentations,

its rescission of and refusal to be bound by the 2007 Policy and 2008 Policy by letter dated




                                                9
   Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 10 of 16




August 19, 2011. Said letter was issued before the 91st day after the date OneBeacon discovered

the falsity of the aforementioned representations.

       9.      As a result of the aforementioned misrepresentations made by Welch and/or the

Welch Firm, OneBeacon is not bound by the 2007 Policy or the 2008 Policy, and said policies

are rescinded, void ab initio, or otherwise of no force and effect. Accordingly, OneBeacon is not

liable to DISH, as a claimed third party beneficiary to the 2007 Policy.

SECOND AFFIRMATIVE DEFENSE

       1.      The 2007 Policy contains the following language:

       VII.    EXCLUSIONS – This policy does not apply to:

               A.     any claim arising out of a wrongful act occurring prior to the
                      policy period if, prior to the effective date of the first Lawyers’
                      Professional Liability Insurance Policy issued by us to the named
                      insured and continuously renewed and maintained in effect to the
                      inception of this policy period:

                                              ***
                      2.      you had a reasonable basis to believe that you had
                              committed a wrongful act, violated a disciplinary rule, or
                              engaged in professional misconduct; [or]
                      3.      you could foresee that a claim would be made against you;

                                               ***

       2.      The term “You” is defined in the 2007 Policy as follows:

       P.      You means:

               1.     the named insured and any predecessor of such entity;

               2.     any lawyer who is or becomes a past or present partner, officer,
                      director, stockholder, shareholder or employee of the named
                      insured, but only while performing professional legal services on
                      behalf of it;

               3.     your lawful spouse, but only with respect to loss resulting from
                      professional legal services of the named insured;




                                                10
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 11 of 16




               4.         any lawyer acting as “of counsel” but only while performing
                          professional legal services on behalf of the named insured;

               5.         any lawyer listed in the named insured’s Prior Acts Schedule
                          who is a partner, officer, director, stockholder, shareholder or
                          employee of the named insured at the time the claim is made, but
                          only as respects professional legal services rendered by such
                          lawyer while associated with a prior firm;

               6.         any non-lawyer employee of independent contractor of the named
                          insured, but only as respects professional legal services rendered
                          on behalf of the named insured; and

               7.         the estate, heirs, executors, administrators, assigns and
                          representatives of each of you in the event of your death,
                          incapacity, insolvency or bankruptcy, but only to the extent that
                          you would otherwise be provided coverage under this policy.

(boldface in original).

       3.      Prior to the effective date of the first policy issued by OneBeacon to the Welch

Firm and continuously renewed and maintained in effect to the inception of the 2008 Policy,

Wooten had a reasonable basis to believe that he had committed a wrongful act, violated a

disciplinary rule, or engaged in professional misconduct in connection with the handling of the

Russian Media Litigation. Additionally, Wooten could foresee that a claim would be made

against him and/or the Welch Firm as a result of Wooten’s handling of the Connecticut

Litigation.

       4.      Therefore, the exclusions set forth above preclude coverage for the DISH Claim

under the 2007 Policy. Accordingly, OneBeacon is not liable to DISH, as a claimed third party

beneficiary to the 2007 Policy.

THIRD AFFIRMATIVE DEFENSE

       1.      The 2007 Policy contains the following language:

       C.      Your Assistance and Cooperation




                                                  11
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 12 of 16




               1.         You must cooperate with us and assist us in investigating and defending
                          any claim or potential claim. Upon our request, you must submit to
                          examination and interrogation by our representatives, under oath if
                          required, and you must attend hearings, depositions and trials, and assist in
                          effecting settlement, securing and giving evidence, obtaining the
                          attendance of witnesses and in the conduct of suits and other proceedings,
                          as well as in the giving of a written statement or statements to our
                          representatives including investigating and coverage counsel, and meeting
                          with such representatives for the purpose of investigation including the
                          investigation of coverage issues and/or defense, all without charge to us.
                          You must further cooperate with us and do whatever is necessary to
                          secure and effect any rights of indemnity, contribution or apportionment
                          which you may have. You must not, except at your own cost, make
                          payment, admit any liability, settle any claims, assume any obligation or
                          incur any expense, without our prior written consent.

(boldface in original).

       2.      Wooten has not cooperated with OneBeacon in its investigation and/or defense of

the DISH Claim.

       3.      Particularly, but not by way of any limitation, Wooten has failed and refused to

(a) submit to examination and/or interrogation by OneBeacon’s investigator; and (b) meet with

OneBeacon’s investigator for the purpose of investigating the DISH Claim.

       4.      The foregoing failure and refusal of Wooten to cooperate with OneBeacon as

required by the 2007 Policy has prejudiced OneBeacon.

       5.      Therefore, OneBeacon does not have any duty to defend or indemnify Wooten in

connection with the DISH claim.

       6.      Thus, DISH’s claim is barred, in whole or in part, to the extent it is based on

conduct of Wooten that is not covered under the 2007 Policy.

FOURTH AFFIRMATIVE DEFENSE

       1.      OneBeacon had no duty to indemnify Welch and/or the Welch Firm prior to the

payment of the deductible required under the policy within the required time period, which




                                                   12
    Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 13 of 16




deductible was a condition precedent to OneBeacon’s obligations under the Policy. Accordingly,

any obligation OneBeacon may have to DISH, as a claimed third party beneficiary to the 2007

Policy, should be reduced in the amount of any interest that accrued on the Malpractice

Judgment during the period of time prior to the payment of the deductible.

FIFTH AFFIRMATIVE DEFENSE

       1.      The Counterclaim is barred, in whole or in part, to the extent Welch, the Welch

Firm and/or DISH have failed to mitigate any damages sought in connection with their

Counterclaims.

       2.      Particularly, but not by way of any limitation, despite having obtained a final

judgment against the Welch Firm, DISH has failed and refused to execute on said judgment

against the Welch Firm and/or Welch, allowing post-judgment interest to accrue in amounts in

excess of the amounts that would accrue if DISH executed on said judgment and obtained

satisfaction or partial satisfaction of said judgment.

       3.      As a result of the foregoing, any amounts DISH may recover against OneBeacon

as a claimed third party beneficiary must be reduced in an amount equal to those amounts that

have accrued as interest since the entry of the Malpractice Judgment.

SIXTH AFFIRMATIVE DEFENSE

       1.      The Counterclaim is barred, in whole or in part, because Welch, the Welch Firm

and/or DISH have unclean hands.

SEVENTH AFFIRMATIVE DEFENSE

       1.      The Counterclaim is barred, in whole or in part, as a result of the prior breach of

the applicable policies of insurance by Welch and/or the Welch Firm.

EIGHTH AFFIRMATIVE DEFENSE




                                                  13
   Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 14 of 16




       1.      The Counterclaim fails to state a claim upon which relief may be granted.

NINTH AFFIRMATIVE DEFENSE

       1.      Any amounts to which Welch, the Welch Firm and/or DISH are found to be

entitled under the policy should be reduced by the amount of claim expenses, including but not

limited to attorneys’ fees and costs, OneBeacon has paid in connection with the defense of the

claims asserted by DISH.

TENTH AFFIRMATIVE DEFENSE

       1.      DISH should be precluded from obtaining any recovery as a third party

beneficiary to the 2007 Policy because it has hindered, obstructed, and hampered OneBeacon’s

investigation of DISH’s claim against the Welch Firm by failing and refusing to produce relevant

documents and information and failing to make certain documents and information it has

provided to OneBeacon available for use at the trial of this matter.


JURY DEMAND – ONEBEACON HEREBY DEMANDS A TRIAL BY JURY AS TO
ALL OF ITS CLAIMS AND THE COUNTERCLAIMS THAT ARE SO TRIABLE.

       Dated at Glastonbury, Connecticut, this 25th day of August, 2014.

                                      THE PLAINTIFF,
                                      ONEBEACON INSURANCE COMPANY




                                      BY _____________________________________
                                           William E. Murray, Esq. (Pro Hac Vice)
                                           Gordon & Rees LLP
                                           95 Glastonbury Boulevard, Suite 206
                                           Glastonbury, CT 06033
                                           Phone: (860) 278-7448
                                           Fax: (860) 560-0185
                                           Email: wmurray@gordonrees.com


                                                14
Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 15 of 16




                                Barry G. Flynn
                                Gordon & Rees LLP
                                3D/International Tower
                                1900 West Loop South, Suite 1000
                                Houston, TX 77027
                                Phone: (713) 961-3366
                                Fax: (713) 961-3938
                                Email: bflynn@gordonrees.com




                                  15
                      Case 4:11-cv-03061 Document 287 Filed on 08/25/14 in TXSD Page 16 of 16




                                                CERTIFICATION OF SERVICE

                          I hereby certify that on August 25, 2014, the foregoing was filed electronically and
                  served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
                  email to all parties by operation of the Court’s electronic filing system or by mail to anyone
                  unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
                  access this document through the Court’s CM/ECF System.




                                                                          ~'




                                                               __________________________________
                                                               William E. Murray, Esq. (Pro Hac Vice)
                                                               Gordon & Rees LLP
                                                               95 Glastonbury Boulevard
                                                               Glastonbury, CT 06033
                                                               Phone: (860) 278-7448
                                                               Fax: (860) 560-0185
                                                               Email: wmurray@gordonrees.com




1072626/20473101v.3


                                                                 16
